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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF KENTUCKY
                                   AT LOUISVILLE

                                       Electronically Filed

SCOTT M. HOWE,                                      )
                                                    )
                              Plaintiff,            )
                                                    )
v.                                                  ) Civil Action No.: 3:17-CV-00770-DJH
                                                    )
FIFTH THIRD BANK, ET AL.,                           )
                                                    )
                              Defendants.           )


               JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

        Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Plaintiff Scott M. Howe and

Defendant Fifth Third Bank (“Fifth Third”) hereby jointly request that this Court dismiss

Plaintiff’s claims against Fifth Third with prejudice. The parties shall bear their own costs and

fees.

Dated: June 18, 2018                              Dated: June 18, 2018

/s/ David W. Hemminger (w/ permission)            /s/ J. Tanner Watkins
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                                CERTIFICATE OF SERVICE

      I hereby certify that the foregoing was filed this 18th day of June, 2018, using the Court’s
ECF system, which will send notice to the following:

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